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                      UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION


 BARBARA BULGART, individually
 and on behalf of all others similarly
 situated,                                                  No. 24 CV 13306
             Plaintiff
                                                            Judge Jeremy C. Daniel
        v.

 PRIME TIME WINDOW CLEANING,
 INC.,
          Defendant


                                              ORDER

The defendant’s motion to dismiss [12] is denied. The defendant shall answer the first
amended complaint on or before July 31, 2025.

                                          STATEMENT

This matter comes before the Court on the defendant’s, Prime Time Window
Cleaning, Inc., motion to dismiss the plaintiff’s, Barbara Bulgart, putative class
action under the Telephone Consumer Protection Act (“TCPA”). (R. 12.)1 The plaintiff
seeks to represent three distinct classes of individuals who received telemarketing
calls from the defendant in violation of the TCPA. (R. 10 ¶ 43.) According to the
plaintiff, she has never been a customer of the defendant. (Id. ¶ 22.)2 She lists her
phone number on the Do-Not-Call Registry. (Id. ¶ 14.) Yet, over a twelve-month
period, she received many phone calls from the defendant, some of which delivered
prerecorded messages. (Id. ¶¶ 26, 28–30.) She repeatedly requested the defendant
stop calling her, but the calls continued. (Id. ¶¶ 24–26.) In an effort to stop the calls,
the plaintiff left a negative review on the defendant’s Google Maps profile; the
defendant responded, acknowledging her complaint and stating that it would stop
calling. (Id. ¶ 36.) Nevertheless, the calls continued. (Id. ¶ 38.) The plaintiff next
submitted a complaint to the Better Business Bureau (“BBB”). (Id. ¶ 39.) During this
process, the plaintiff saw Google reviews and BBB complaints from other individuals
receiving repeated, unwanted calls from the defendant. (Id. ¶¶ 40–41.)

1 For ECF filings, the Court cites to the page number(s) set forth in the document’s ECF header

unless citing to a particular paragraph or other page designation is more appropriate.
2 This description of the events underlying the plaintiffs’ claims is drawn from the complaint and is

presumed true for the purpose of resolving the pending motion. Vimich v. Vorwald, 664 F.3d 206,
212 (7th Cir. 2011).
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The plaintiff brings three claims under the TCPA, congruent with her three putative
classes. First, she alleges that the defendant failed to honor requests from those who
stated they did not wish to be contacted by the defendant, in violation of 47 U.S.C. §
227(c) and 47 C.F.R. § 64.1200(d) (Count I and the “IDNC Class”). (Id. ¶¶ 43, 54–70.)
Second, she alleges that the defendant placed calls using artificial or prerecorded
voices in violation of 47 U.S.C. § 227(b) (Count II and the “Robocall Class”). (Id. ¶¶
43, 71–74.) Third, she alleges that the defendant called those who listed their
numbers on the national Do-Not-Call Registry, in violation of 47 U.S.C. § 227(c) and
47 C.F.R. § 64.1200(d) (Count III and the “DNC Class”). (Id. ¶¶ 43, 75–81.)

The defendant filed a motion to dismiss under Federal Rule of Civil Procedure
12(b)(6). (R. 12.) The plaintiff filed a timely response. (R. 14.) The defendant did not
file a reply.

A motion to dismiss under Rule 12(b)(6) tests the legal sufficiency of the complaint,
not the merits of the allegations. McReynolds v. Merrill Lynch & Co., 694 F.3d 873,
878 (7th Cir. 2012). To overcome a motion to dismiss, a complaint must contain
sufficient factual allegations to state a claim for relief that is plausible on its face,
Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009), and raises the right to relief above a
speculative level. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). The Court
must accept all well-pleaded factual allegations in the complaint as true and draw all
reasonable inferences in the plaintiff’s favor. In re Abbott Labs. Derivative S’holder
Litig., 325 F.3d 795, 803 (7th Cir. 2003).

The defendant argues that the plaintiff fails to state a claim under § 227(b) because
she merely recites a bare-bones listing of the elements of the cause of action. (R. 12
at 7.) The Court disagrees. Section 227(b) forbids “mak[ing] any call . . . using any
automatic telephone dialing system [(“ATDS”)] or an artificial or prerecorded voice .
. . to any telephone number assigned to a . . . cellular telephone service[.]” 47 U.S.C.
§ 227(b)(1)(A)(iii). The complaint alleges that the defendant placed several calls to
the plaintiff, leaving voicemails that were “clearly pre-recorded because (a) the
recordings are identical in tone, voice, and cadence; (b) the robot has a mono-tone
voice; (c) the message was impersonal and did not identify Plaintiff or any specific
recipient and (d) the voicemail abruptly cuts off at the end.” (R. 10 ¶ 34.) The facts
alleged by the plaintiff suffice to state a claim under this statute.

Next, the defendant moves to dismiss the plaintiff’s § 227(c) claims on two grounds.
First, the defendant argues that 47 C.F.R. § 64.1200(d), the regulation which it is
accused of violating, was promulgated under § 227(d), not §227(c). (R. 12 at 6.)
Because § 227(d) does not contain a private right of action, the defendant argues the
plaintiff cannot sue it for failing to comply with § 64.1200(d). (Id.) Second, the
defendant argues that the plaintiff fails to allege a violation of § 64.1200(d).



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Starting with whether § 64.1200(d) was promulgated under a statutory provision
containing a private right of action, the defendant has not convinced the Court there
is no private right of action here. The defendant argues that “district courts within
the Seventh Circuit have largely followed the view that § 64.1200(d) was promulgated
under § 227(d), which does not provide a private right of action,” but utterly fails to
support this proposition with on-point caselaw. (R. 12 at 6 (emphasis removed).) The
defendant cites only one case from within the Seventh Circuit, an unreported case
from this district striking class allegations due to the purported class representative’s
unsuitability as a class representative. Jo Ann Sorsby v. Truegreen Ltd. P’ship, et al,
No. 20 C 2601, 2023 WL 130505, at *1 (N.D. Ill. Jan. 9, 2023). The remaining cases
cited by the defendant are unreported out-of-circuit decisions addressing whether
calls to cell phones are within the ambit of § 64.1200(d). Cunningham v. Britereal
Mgmt., Inc., No. 4:20 C 144, 2020 WL 7391693, at *6–7 (E.D. Tex. Nov. 20, 2020),
report and recommendation adopted, 2020 WL 7388415 (E.D. Tex. Dec. 16, 2020);
Gaker v. Q3M Ins. Sols., No. 3:22 C 296, 2023 WL 2472649, at *3 (W.D.N.C. Feb. 8,
2023). This may have been a productive argument for the defendant to make, but it
did not do so. 3 “It is not the role of this court to research and construct the legal
arguments open to parties, especially when they are represented by counsel.” Vertex
refining, NV, LLC v. Nat’l Union Fire Ins. Co. of Pittsburgh, 374 F. Supp. 3d 754, 765
(N.D. Ill. 2019) (citing Doherty v. City of Chicago, 75 F.3d 318, 324 (7th Cir.
1996), amended (Mar. 28, 1996)). On a motion to dismiss, the defendant must
convince the Court it is entitled to dismissal. Marcure v. Lynn, 992 F.3d 625, 631 (7th
Cir. 2021). Here the Court is not convinced there is no private right of action under §
64.1200(d).

Last, the defendant argues that the plaintiff’s claims under § 227(c) should be
dismissed because she fails to plead that it used an ATDS to place the calls. (R. 12 at
8.) The Seventh Circuit has clarified that an ATDS must either randomly or
sequentially generate telephone numbers to be called—a machine which calls
numbers off a list (such as a customer database) does not qualify as an ATDS.
Gadelhak v. AT&T Servs., Inc., 950 F.3d 458, 460 (7th Cir. 2020). According to the
defendant, the complaint contains no “facts to support an inference that [it] called the
[p]laintiff with an ATDS.” (R. 12 at 9.) But, as the plaintiff correctly points out, claims
under § 227(c) do not require use of an ATDS. (R. 14 at 13.) The statutory provision
directs the Federal Communications Commission to promulgate regulations
protecting Americans from unwanted telephone solicitations, which it did at, inter
alia, 47 C.F.R. § 64.1200(d). 47 U.S.C. § 227(c). This promulgated regulation forbids
making phone calls using either an ATDS or an “artificial or prerecorded voice” unless

3 Of course, a court may consider a dispositive issue on its own initiative and is not obligated to let

an obviously flawed case proceed simply because a defendant did not squarely address the fatal flaw.
See Bernacchi v. First Chicago Ins. Co., 52 F.4th 324, 328 (7th Cir. 2022). This is not that. The
plaintiff identified a long list of cases finding that calls to cell phones can give rise to a claim under
the TCPA. (R. 14 at 8 n.2.) This is sufficient to persuade the Court that this is a live issue on which
the defendant had to put forth a winning argument if it wanted the Court to dismiss the plaintiff’s
claims on this ground.

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the caller has established certain procedures for maintaining a list of those who
“request not to receive such calls.” 47 C.F.R. § 64.1200(d). The plaintiff alleges that
the defendant placed several calls to her using a prerecorded voice, and persisted in
calling her even after she requested it cease doing so. (R. 10 ¶¶ 24–36.) These are
adequate allegations to state a claim under 47 U.S.C. § 227(c) and 47 C.F.R. §
64.1200(d)—based on the facts alleged, the Court can draw the reasonable inference
that the defendant lacks the required procedures to track and honor the plaintiff’s
do-not-call request.




Date: July 9, 2025
                                                     JEREMY C. DANIEL
                                                     United States District Judge




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